                              UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW HAMPSHIRE

PC Connection, Inc.
        v.                                           Civil No. 22-cv-397-JL
International Business Machines Corporation


                               ORDER AFTER PRELIMINARY
                                 PRETRIAL CONFERENCE

        The Preliminary Pretrial Conference was held via video-conference on October 26,

2023.

        The Discovery Plan (document no. 40) is approved as submitted, to the extent reflected or

modified below:

        •    Close of discovery1 – July 26, 2024

        •    Summary judgment deadline2 – September 24, 2024

        •    Mid-Litigation Discovery Status Conference – July 12, 2024 at 3:00 pm

        •    Joint Status Report – July 10, 2024

        •    Jury trial – February 4, 2025

        Mid-Litigation Status Conference. The court will hold a mid-litigation status

conference 14 days before the close of discovery or the summary judgment deadline, whichever


1
 The parties are advised that the court considers the deadline for the completion of discovery to
be a deadline by which discovery is to be completed–-not a deadline by which discovery is to be
served. Propounding parties shall ensure that enough time remains in the discovery period for
the recipient to provide its responses by that deadline. Where Federal Rule 33(b)(2), 34(b)(2), or
36(a)(3) would call for a response after the deadline, the recipient need not provide a response.
2
 The parties may move for summary judgment on any issue at any time prior to this deadline.
They are advised, however, that any motions for summary judgment that are directed at discrete
issues and filed well before the close of discovery are unlikely to receive expeditious treatment.
falls first. Counsel shall be prepared to discuss the status of discovery, upcoming dispositive

motions (or other significant motions such as those seeking the exclusion of expert testimony),

settlement prospects, and any other issues the parties’ counsel or the court wish to address.

Counsel may, but are not required, to jointly file a status report summarizing those issues (and

any other appropriate topics) no later than 48 hours before the conference.

       Summary Judgment. The parties and counsel are advised that compliance with Rule

56(e) and Local Rule 7.2(b), regarding evidentiary support for factual assertions, and

specification and delineation of material issues of disputed fact, will be required.

       Oral argument on dispositive motions. Counsel and the parties should anticipate that

oral argument will be held on all dispositive motions. Any party preferring that such a motion be

decided on the written filings alone should so notify the clerk.

       Discovery disputes. Discovery disputes will be handled by the undersigned judge, as

opposed to the Magistrate Judge, in the normal course. No motion to compel is necessary. The

party or counsel seeking discovery-related relief should confer with adverse counsel to choose

mutually available dates, and then contact the Deputy Clerk to schedule a conference call with

the court. The court will inform counsel and parties what written materials, if any, should be

submitted in advance of the conference call.

       Customary motions to compel discovery, while disfavored by the undersigned judge, are

nonetheless permissible. If counsel prefer traditional discovery litigation to the conference call

procedure set forth above, any such motion to compel should expressly request, in the title of the

motion, a referral to the United States Magistrate Judge. Such referral requests will normally be

granted. If the Magistrate Judge is recused, alternate arrangements will be made.

                                                  2
      SO ORDERED.



                                        ____________________________
                                        Joseph N. Laplante
                                        United States District Judge

Dated: November 9, 2023

cc:   Cassandra Desjourdy, Esq.
      John LeBlanc, Esq.
      Christopher H.M. Carter, Esq.
      Daniel Miville Deschenes, Esq.
      Anne Sidrys, Esq.
      Bryanna Kleber Devonshire, Esq.
      Paul Cozzi, Esq.
      Paul J. Sampson, Esq.
      Robert R. Lucic, Esq.




                                          3
